Case 1:07-cv-00685-JFM   Document 7-2   Filed 01/22/2008   Page 1 of 2




                   APPENDIX
       Case 1:07-cv-00685-JFM                     Document 7-2               Filed 01/22/2008              Page 2 of 2



                                                INDEX TO APPENDIX
                                                                                                                          Page(s)

FBI closing source memorandum for Baruch Vega,
       dated February 1, 2000.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1-2

DEA Deactivation of Baruch Vega for Unsatisfactory Cooperation/Behavior,
     dated April 19, 2000. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3-5

Excerpt from DEA Handbook. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6-7
